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PATRICIA S. DODSZUWEIT         UNITED STATES COURT OF APPEALS                          TELEPHONE
      CLERK                             FOR THE THIRD CIRCUIT                         215-597-2995
                                  21400 UNITED STATES COURTHOUSE
                                          601 MARKET STREET
                                     PHILADELPHIA, PA 19106-1790
                                  Website: www.ca3.uscourts.gov


                                                              October 16, 2020


Mr. William T. Walsh
United States District Court for the District of New Jersey
Martin Luther King Jr. Federal Building & United States Courthouse
50 Walnut Street
PO Box 999
Newark, NJ 07102


RE: USA v. Cory Melvin
Case Number: 20-1158
District Court Case Number: 2-09-cr-00343-001

Dear Mr. Walsh:

Enclosed herewith is the certified judgment together with copy of the opinion or certified copy of
the order in the above-captioned case(s). The certified judgment or order is issued in lieu of a
formal mandate and is to be treated in all respects as a mandate.

Counsel are advised of the issuance of the mandate by copy of this letter. The certified judgment
or order is also enclosed showing costs taxed, if any.

Very truly yours,
Patricia S. Dodszuweit, Clerk

By: s/ Aina, Legal Assistant
Direct Dial: 267-299-4957

cc:

Louise Arkel
Sabrina G. Comizzoli
Mark E. Coyne
